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    MARYELLIS BUNN, and
  8 1AND8 INC., dba MUSEUM OF ICE
    CREAM
  9
 10                              UNITED STATES DISTRICT COURT
 11              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 PRETTY IN PLASTIC, INC., a                  Case No. 2:18-cv-06091-GW (SKx)
    California corporation,
 14                                             DEFENDANTS’ REQUEST FOR
                 Plaintiff,                     JUDICIAL NOTICE IN SUPPORT
 15                                             OF MOTION TO DISMISS
          v.                                    COMPLAINT
 16
    MARYELLIS BUNN, an individual;              Date: Nov. 8, 2018
 17 and1AND8 INC., a Delaware                   Time: 8:30 a.m.
    corporation dba MUSEUM OF ICE               Crtrm.: 9D
 18 CREAM,
                                                The Hon. George H. Wu
 19                      Defendants.
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      SMRH:488034686.1                               RJN ISO MOTION TO DISMISS COMPLAINT
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  1 I.        REQUEST FOR JUDICIAL NOTICE
  2           In support of its Motion to Dismiss Complaint (the “Motion”), Defendants
  3 1AND8, Inc. dba Museum of Ice Cream (“MOIC”) and Maryellis Bunn
  4 (collectively, “Defendants”), seek judicial notice of:
  5           1.     The dictionary definition of the term “unicorn” from the current edition
  6                  of the Merriam-Webster Dictionary, which is available online at
  7                  https://www.merriam-webster.com/dictionary/unicorn. A true and
  8                  correct copy of this definition from the Merriam-Webster Dictionary is
  9                  attached hereto as Exhibit A.
 10           2.     The entry for “unicorn” from the Encyclopedia Britannica, which is
 11                  available online at https://www.britannica.com/topic/unicorn. A true and
 12                  correct copy of this entry from the Encyclopedia Britannica is attached
 13                  hereto as Exhibit B.
 14 II.       THE COURT SHOULD GRANT THE REQUEST FOR JUDICIAL
              NOTICE
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              Courts may take judicial notice of facts “not subject to reasonable dispute”
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      that “can be accurately and readily determined from sources whose accuracy cannot
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      be questioned.” Fed. R. Evid. 201(b).
 18
              Judicial notice of definitions from the Merriam-Webster Dictionary is proper.
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      See, e.g., Sexy Hair Concepts, LLC v. Conair Corp., No. 212cv02218-CBM, 2013
 20
      WL 12119721, at *3 (C.D. Cal. Feb. 25, 2013) (“Conair requests that the Court take
 21
      judicial notice of the dictionary definition of the word ‘sexy’ as defined in the
 22
      current version of the Merriam-Webster dictionary. The request is made pursuant to
 23
      Federal Rule of Evidence 201 on the basis that the definition “can be accurately and
 24
      readily determined from sources whose accuracy cannot reasonably be questioned . .
 25
      . . The Court GRANTS this request.”); Phillips v. P.F. Chang’s China Bistro, Inc.,
 26
      No. 5:15-cv-344-RMW, 2015 WL 4694049, at *2 (N.D. Cal. Aug. 6, 2015) (taking
 27
      judicial notice of Merriam-Webster Dictionary definitions of “celiac disease”).
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  1           Similarly, courts may take judicial notice of entries from the Encyclopedia
  2 Britannica. See, e.g., Singh v. Ashcroft, 393 F.3d 903, 905 (9th Cir. 2004) (taking
  3 judicial notice of an article in the Encyclopedia Britannica).
  4           The facts contained within Merriam-Webster’s dictionary definition of the
  5 term “unicorn” and the Encyclopedia Britannica entry on “unicorn” cannot
  6 reasonably be disputed and constitute unquestionably accurate sources.
  7 Accordingly, the Court should take judicial notice of both entries, which are
  8 attached hereto as Exhibit A and Exhibit B, respectively.
  9 III.      CONCLUSION
 10           For these reasons, Defendants respectfully request that the Court take judicial
 11 notice of the Merriam-Webster dictionary definition of the term “unicorn” (Exhibit
 12 A) and the Encyclopedia Britannica entry for “unicorn” (Exhibit B).
 13 Dated: October 9, 2018
 14                                   Respectfully submitted,
 15
                                      SHEPPARD, MULLIN, RICHTER & HAMPTON
 16                                   LLP
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 18                                   By             /s/ Carlo F. Van den Bosch
 19                                                 CARLO F. VAN DEN BOSCH
                                                      GAZAL POUR-MOEZZI
 20                                                   Attorneys for Defendants
 21                                                     MARYELLIS BUNN
                                                  1AND8 INC., dba MUSEUM OF ICE
 22                                                            CREAM
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